Case 23-41067   Doc 11   Filed 12/26/23 Entered 12/26/23 14:51:47   Desc Main
                          Document     Page 1 of 59
                 Case 23-41067                             Doc 11                Filed 12/26/23 Entered 12/26/23 14:51:47                                                          Desc Main
                                                                                  Document     Page 2 of 59
 Fill in this information to identify the case:

 Debtor name            Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MASSACHUSETTS

 Case number (if known)               23-41067
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           350,485.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           350,485.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                     0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    30.28

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       14,830,737.17


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,830,767.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
             Case 23-41067              Doc 11       Filed 12/26/23 Entered 12/26/23 14:51:47                         Desc Main
                                                      Document     Page 3 of 59
Fill in this information to identify the case:

Debtor name      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS

Case number (if known)     23-41067
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number
                 Cambridge Trust Company, P.O. Box
          3.1.   380186, Cambridge MA 02238-0186                 Operating Account               4576                                    $15,484.54



                 PNC Bank, PO Box 609, Pittsburgh, PA
          3.2.   15230-9738                                      Operating Account               9948                                  $185,766.91



                 Cambridge Trust Company, P.O. Box
          3.3.   380186, Cambridge MA 02238-0186                 Sweep account                   7327                                             $0.00



                 Cambridge Trust Company, P.O. Box               Cash collateral account
          3.4.   380186, Cambridge MA 02238-0186                 for LOC                         7492                                             $0.00



                 Cambridge Trust Company, P.O. Box
          3.5.   380186, Cambridge MA 02238-0186                 ICS sweep account               0339                                             $0.00



                 Cambridge Trust Company, P.O. Box
          3.6.   380186, Cambridge MA 02238-0186                 Savigs account                  5533                                             $0.00



4.        Other cash equivalents (Identify all)


Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                                page 1
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Debtor           Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                        Case number (If known) 23-41067
                 Name


5.        Total of Part 1.                                                                                                  $201,251.45
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit
                   Security Deposits held with CSC Leasing Company, 6802 Paragon Place, Suite 350,
          7.1.     Richmond, VA 23230                                                                                          $56,761.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Refund due overpaid Credit Card - Brex                                                                           $25.90




          8.2.     Merchandise credit due from Teknova, 2451 Bert Drive, Hollister CA 95023                                         $10.00




          8.3.     Prepaid insurance Arch Insurance 4/11/23-5/1/24                                                             $10,774.44




          8.4.     Prepaid Software license - Global Life Sciences Solutions 6/30/23-6/29/24                                   $39,998.83




          8.5.     Prepaid Software license - COMSOL 2/16/23 - 2/29/24                                                             $586.56




          8.6.     Prepaid Software license - Greenhouse 4/12/23-4/11/24                                                          $4,866.30




          8.7.     Prepaid Software license - Cloud Topco 5/11/23-5/10/24                                                         $2,082.50




          8.8.     Prepaid Software license - Egnyte 5/16/23-5/15/24                                                              $8,500.00




          8.9.     Prepaid Software license - LinkSquares 5/24/23-5/23/24                                                      $13,170.58



          8.10
          .    Prepaid Software license - LinkedIn Corporation 5/1/23-4/30/24                                                     $2,177.08

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 2
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Debtor       Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                      Case number (If known) 23-41067
             Name




          8.11
          .    Prepaid Software license - Carta 6/18/23-6/18/24                                                                 $10,280.72




9.        Total of Part 2.                                                                                                 $149,233.91
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last       Net book value of      Valuation method used      Current value of
                                             physical inventory     debtor's interest      for current value          debtor's interest
                                                                    (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Research materials
          including the Research
          Cell Bank for ABCA4
          C3DNA, Purified C3DNA,
          preC3 Plasmid, glycerol
          stocks of PreC3
          Constructs, and glycerol
          stocks of converted
          C3DNA from PreC3, as
          well as NHP retina
          samples obtained from
          Intergalactic's 3239-071
          study                                                                   $0.00                                          Unknown


          Lab consumables                                                         $0.00                                          Unknown



23.       Total of Part 5.                                                                                                         $0.00
          Add lines 19 through 22. Copy the total to line 84.


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                  page 3
             Case 23-41067                 Doc 11       Filed 12/26/23 Entered 12/26/23 14:51:47                            Desc Main
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Debtor       Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                              Case number (If known) 23-41067
             Name

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Specialty Lab Equipment with an original cost
          of $126,104.10 net of accumulated
          depreciation. Equipment returned to
          manufacturer in Italy for modification.                                  $92,476.34                                            Unknown


          30 MacBook Pro or Lenovo X1 Laptops                                       Unknown                                              Unknown



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                   $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 4
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              Name


      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           See attached                                                            Unknown                                              Unknown



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 5
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Debtor      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                       Case number (If known) 23-41067
            Name

         Description (include name of obligor)

72.      Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         NOL from Federal Return                                                     Tax year 2020                          Unknown



         NOL from Federal Return                                                     Tax year 2021                          Unknown



         NOL from Federal Return                                                     Tax year 2022                          Unknown



73.      Interests in insurance policies or annuities
         Chubb Insurance Commercial Package expiring May 1,
         2024                                                                                                               Unknown



         Chubb Insurance Auto policy expiring May 1, 2024                                                                   Unknown


         Chubb Insurance Umbrella Liability policy expiring May
         1, 2024                                                                                                            Unknown


         Chubb Insurance Workers Compensation policy
         expiring May 1, 2024                                                                                               Unknown


         Arch Insurance Management Liability policy expiring
         May 1, 2024                                                                                                        Unknown



74.      Causes of action against third parties (whether or not a lawsuit
         has been filed)

75.      Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims
         Components of patent applications submitted by the
         Debtor and Galvanize Therapeutics may contain
         overlapping claims.                                                                                                Unknown
         Nature of claim        Patents
         Amount requested                          $0.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                                   $0.00
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                           page 6
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                                  INTERGALACTIC THERAPEUTICS PATENT SCHEDULE (December 20, 2023)


Family No.       Family Title   Title / Family Description                       Country               Application No.   Patent No.   Status
                                                                                                       (Filing Date)                  (Action)
MLB
Reference
1                Synthetic      SYNTHETIC DNA VECTORS AND METHODS                                      62/643,336                     Expired provisional
                                                                                 U.S. Provisional
                 C3DNA 1        OF USE                                                                 (3/15/2018)
                                                                                                       62/749,369                     Expired provisional
                                                                                 U.S. Provisional
5002 (IGT-002)                                                                                         (10/23/2018)
                                Directed to synthetic closed covalent circular                         PCT/US19/22511
                                DNA (C3DNA), methods of producing                PCT                                                  Published / closed
                                                                                                       (3/15/2019)
                                synthetic C3DNA, and methods of using                                                                 Pending
                                C3DNA for treatment of diseases. Includes                              16/980,914                     (Response to Non-Final Office
                                disclosures directed to C3DNA encoding           U.S.
                                                                                                       (9/15/2020)                    Action due Feb 6 2024,
                                ABCA4 and other ocular genes for treatment                                                            extendable to May 6 2024)
                                of retinal dystrophies, such as Stargardt                              2019233901                     Pending
                                disease.                                         Australia
                                                                                                       (3/15/2019)                    (Annuity Mar 15 2024)
                                                                                                                                      Pending
                                                                                                       3092088
                                                                                 Canada                                               (Request Examination and
                                                                                                       (3/15/2019)
                                                                                                                                      Annuity Mar 15 2024)
                                                                                                       201980019118.X
                                                                                 China                                                Abandoned
                                                                                                       (3/15/2019)
                                                                                                                                      Pending
                                                                                 China                 202311181118.4                 (POA required and Response to
                                                                                 (Div)                 (3/15/2019)                    Notice of Rectification due Feb
                                                                                                                                      16 2024)
                                                                                                       19766752.0                     Pending
                                                                                 Europe
                                                                                                       (3/15/2019)                    (Annuity Mar 15 2024)
                                                                                                       62021033338.6                  Pending
                                                                                 Hong Kong (from EP)
                                                                                                       (6/18/2021)                    (Annuity Mar 15 2027)
                                                                                                       276923
                                                                                 Israel                                               Pending
                                                                                                       (3/15/2019)
                                                                                                       202017037925
                                                                                 India                                                Pending
                                                                                                       (3/15/2019)
                                                                                                                                      To be abandoned in favor of a
                                                                                                       2020545324
                                                                                 Japan                                                divisional application
                                                                                                       (3/15/2019)
                                                                                                                                      (OA response Jan 4 2024)
                                                                                 Japan
                                                                                                       TBD                            To be filed by Jan 4 2024
                                                                                 (Div)
                                                                                                       1020207028218
                                                                                 Korea                                                Pending
                                                                                                       (3/15/2019)
                                                                                                       MX/a/2020/00579
                                                                                 Mexico                                               Pending
                                                                                                       (3/15/2019)
2                Synthetic      SYNTHETIC DNA VECTORS AND METHODS                                      62/902,084
                                                                                 U.S. Provisional                                     Expired provisional
                 C3DNA 2        OF USE                                                                 (9/18/2019)
5003 (IGT-003)                                                                                         PCT/US20/51507
                                                                                 PCT                                                  Published / closed
                                                                                                       (9/18/2020)
                                Includes and expands the subject matter of                             109132490
                                Family 1 (synthetic C3DNA) to include other      Taiwan                                               Pending
                                                                                                       (9/18/2020)
     DB1/ 141288199.2                                                                        1
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                                   INTERGALACTIC THERAPEUTICS PATENT SCHEDULE (December 20, 2023)


Family No.       Family Title    Title / Family Description                      Country            Application No.    Patent No.   Status
                                                                                                    (Filing Date)                   (Action)
MLB
Reference
                                 disease indications, such as oncology. Claims                      17/365,805
                                                                                 U.S.                                               Abandoned
                                 broadly issued in US for synthetic C3DNA                           (7/1/2021)
                                 lacking an origin of replication, drug                             17/365,808
                                                                                 U.S.                                  11,324,839   Granted
                                 resistance gene, and recombination site.                           (7/1/2021)
                                                                                                    17/365,846
                                                                                 U.S.                                  11,766,490   Granted
                                                                                                    (7/1/2021)
                                                                                                    17/675,899
                                                                                 U.S.                                  11,602,569   Granted
                                                                                                    (2/18/2022)
                                                                                                    18/057,032
                                                                                 U.S.                                  11,684,680   Granted
                                                                                                    (11/18/2022)
                                                                                                    18/308,457
                                                                                 U.S.                                               Pending
                                                                                                    (4/27/2023)
                                                                                                                                    Pending
                                                                                                    20866548.9                      (Response to Search Report
                                                                                 Europe
                                                                                                    (9/18/2020)                     Mar 29 2024)
                                                                                                                                    (Annuity Sep 18 2024)
                                                                                                                                    Pending
                                                                                                    2204355.8
                                                                                 United Kingdom                                     (Order for acceptance Mar 18
                                                                                                    (9/18/2020)
                                                                                                                                    2024)
                                                                                                    2020351204                      Pending
                                                                                 Australia
                                                                                                    (9/18/2020)                     (Annuity Sep 18 2024)
                                                                                                                                    Pending
                                                                                                    3151464
                                                                                 Canada                                             (Request Examination and
                                                                                                    (9/18/2020)
                                                                                                                                    Annuity Sep 18 2024)
                                                                                                    202080080113.0
                                                                                 China                                              Pending
                                                                                                    (9/18/2020)
                                                                                                    291437
                                                                                 Israel                                             Pending
                                                                                                    (9/18/2020)
                                                                                                    202217022159
                                                                                 India                                              Pending
                                                                                                    (9/18/2020)
                                                                                                    2022-517337
                                                                                 Japan                                              Pending
                                                                                                    (9/18/2020)
                                                                                                    10-2022-7012373
                                                                                 Korea                                              Pending
                                                                                                    (9/18/2020)
                                                                                                    MX/a/2022/003291
                                                                                 Mexico                                             Pending
                                                                                                    (9/18/2020)
3                Cell-free       SYNTHETIC PRODUCTION OF CIRCULAR                U.S. Provisional   63/248,801                      Expired provisional
                 production of   DNA VECTORS                                                        (9/27/2021)
5004 (IGT-004)   C3DNA                                                           PCT                PCT/US22/77108                  Published
                                                                                                    (9/27/22)                       (30M Nat’l entry Mar 27 2024)
                                 Directed to methods of producing synthetic
                                 C3DNA in a cell-free system using restriction
                                 endonuclease digestion.


     DB1/ 141288199.2                                                                        2
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                                     INTERGALACTIC THERAPEUTICS PATENT SCHEDULE (December 20, 2023)


Family No.       Family Title      Title / Family Description                        Country              Application No.     Patent No.   Status
                                                                                                          (Filing Date)                    (Action)
MLB
Reference
4                Bacterially       BACTERIALLY PRODUCED C3DNA                        U.S. Provisional     63/291,871                       Expired provisional
                 produced                                                                                 (12/23/21)
5005 (IGT-005)   C3DNA             Directed to methods of producing C3DNA in         PCT                  PCT/US22/82078                   Published
                                   bacterial cells, engineered cells for producing                        (12/23/21)                       (30M Nat’l entry Jun 23 2024)
                                   C3DNA, and bacterially produced C3DNA
                                   compositions.

5                Peptides for      POLYPEPTIDES AND METHODS OF USE                   Provisional / U.S.   63/331,452                       Expired provisional
                 gene delivery                                                                            (4/15/2022)
5013 (IGT-013)                     Directed to peptides and nanoparticles that       PCT/ International   PCT/US2023/065763                Published
                                   can improve cellular uptake of non-viral                               (4/14/2023)                      (30M Nat’l entry Oct 15 2024)
                                   vectors, such as C3DNA.
6                Ocular            OCULAR DELIVERY OF THERAPEUTIC                    U.S. Provisional     63/163,350                       Expired provisional
                 electrotransfer   AGENTS                                                                 (3/19/2021)
5010 (IGT-010)                                                                       U.S. Provisional     63/167,296                       Expired provisional
                                   Directed to methods of delivering non-viral                            (3/29/21)
                                   vectors to the eye using electrotransfer.         U.S. Provisional     63/167,463                       Expired provisional
                                   Specific embodiments include delivery of                               (3/29/21)
                                   C3DNA encoding genes such as ABCA4 to the         U.S. Provisional     63/167,437                       Expired provisional
                                   retina for treatment of retinal dystrophies,                           (3/29/2021)
                                   such as Stargardt disease. Also included are      U.S. Provisional     63/293,297                       Expired provisional
                                   electrodes desired for ocular electrotransfer.                         (12/23/21)
                                                                                     U.S. Provisional     63/316,699                       Expired provisional
                                                                                                          (3/4/22)
                                                                                     PCT                  PCT/US22/21209                   Published / closed
                                                                                                          (3/21/2022)
                                                                                     U.S.                 17/721,063                       Abandoned
                                                                                                          (4/14/2022)
                                                                                     U.S.                 18/156,891                       To be abandoned
                                                                                                          (1/19/23)
                                                                                     U.S.                 18/491,140                       Pending
                                                                                                          (10/20/2023)                     (Response to Notice Jan 2 2024,
                                                                                                                                           extendable)
                                                                                     Australia            2022238492                       Pending
                                                                                                          (3/21/2022)                      (Annuity Mar 21 2026)
                                                                                     Canada               3,212,469                        Pending
                                                                                                          (3/21/2022)                      (Annuity Mar 21 2024)
                                                                                     China                202280035586.8                   Pending
                                                                                                          (3/21/2022)                      (Request Examination and
                                                                                                                                           Voluntary Claim Amendments
                                                                                                                                           Mar 19 2024)
                                                                                     Europe               22772345.9                       Pending
                                                                                                          (3/21/2022)                      (Annuity Mar 21 2024)

     DB1/ 141288199.2                                                                            3
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                                     INTERGALACTIC THERAPEUTICS PATENT SCHEDULE (December 20, 2023)


Family No.       Family Title      Title / Family Description                       Country            Application No.    Patent No.   Status
                                                                                                       (Filing Date)                   (Action)
MLB
Reference
                                                                                                                                       (Voluntary claim amendments
                                                                                                                                       May 10 2024)
                                                                                    Israel             306009                          Pending
                                                                                                       (3/21/2022)
                                                                                    India              202317071092                    Pending
                                                                                                       (3/21/2022)                     (POA needed Jan 18 2024)
                                                                                    Japan              2023-557754                     Pending
                                                                                                       (3/21/2022)                     (Request Examination Mar 21
                                                                                                                                       2025)
                                                                                    Korea              10-2023-7035697                 Pending
                                                                                                       (3/21/2022)                     (POA needed Dec 26 2023,
                                                                                                                                       extendable)
                                                                                    Mexico             MX/a/2023/010899                Pending
                                                                                                       (3/21/2022)                     (Translation due Jan 28 2024)
7                Front-of-the-     GENE THERAPIES FOR THE FRONT OF THE              U.S. Provisional   63/444,740                      Provisional Pending
                 eye               EYE                                                                 (2/10/2023)                     (Nonprov due Feb 10 2024)
5012 (IGT-012)   electrotransfer
                                   Directed to methods of delivering non-viral
                                   vectors to the front of the eye using
                                   electrotransfer. Specific embodiments include
                                   delivery of C3DNA to the front of the eye for
                                   treatment of Fuchs’ dystrophy.
8                Ocular DNA        OCULAR DNA CONSTRUCTS                            U.S. Provisional   63/359,125                      Expired provisional
                 constructs                                                                            (7/7/2022)
5006 (IGT-006)                     Directed to vector compositions containing       U.S. Provisional   63/408,353                      Expired provisional
                                   regulatory sequences that improve expression                        (9/20/22)
                                   in retinal cells.                                PCT                PCT/US23/69748                  PCT Pending
                                                                                                       (7/7/2023)                      (30M Nat’l entry Jan 7 2025)
                                                                                    U.S. Provisional   63/408,356                      Expired provisional
                                                                                    (BEST1)            (9/20/2022)
                                                                                    PCT                PCT/US23/74441                  PCT Pending
                                                                                    (BEST1)            (9/18/2023)                     (30M Nat’l entry Mar 20 2025)
9                Respiratory       RESPIRATORY DELIVERY OF THERAPEUTIC              U.S. Provisional   63/256,416                      Expired provisional
                 C3DNA and         AGENTS                                                              (10/15/2021)
5007 (IGT-007)   electrotransfer                                                    U.S. Provisional   63/388,794                      Expired provisional
                                   Directed to methods of delivering non-viral                         (7/13/2022)
                                   vectors to airway tissue cells using             PCT                PCT/US22/78165                  Published
                                   electrotransfer.                                                    (10/14/2022)                    (30M Nat’l entry Apr 15 2024)
10               Devices for       DEVICES AND METHODS FOR HOLLOW                   U.S. Provisional   63/293,365                      Expired provisional
                 respiratory       TISSUE ELECTROTRANSFER                                              (12/23/2021)
5011 (IGT-011)   electrotransfer                                                    PCT                PCT/US22/82365                  Published
                                   Directed to electrode devices for                                   (12/23/2022)                    (30M Nat’l entry Jun 23 2024)
                                   electrotransfer of non-viral vectors to hollow
                                   tissues, such as airway.
     DB1/ 141288199.2                                                                         4
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                                     INTERGALACTIC THERAPEUTICS PATENT SCHEDULE (December 20, 2023)


Family No.       Family Title      Title / Family Description                      Country            Application No.   Patent No.   Status
                                                                                                      (Filing Date)                  (Action)
MLB
Reference
11               Respiratory       RESPIRATORY DNA CONSTRUCTS                      U.S. Provisional   63/388,880                     Expired provisional
                 DNA constructs                                                                       (7/13/2022)
5008 (IGT-008)                     Directed to vector compositions containing
                                   regulatory sequences that improve expression    PCT                PCT/US23/70108                 PCT pending
                                   in airway cells.                                                   (7/13/2023)                    (30M Nat’l entry Jan 13 2025)

12               Oncology          NUCLEIC ACID VECTORS AND METHODS                U.S. Provisional   63/152,575                     Expired provisional
                 vectors and       OF USE                                                             (2/23/2021)
5009 (IGT-009)   electrotransfer                                                   U.S. Provisional   63/152,540                     Expired provisional
                                   Directed to vector compositions encoding                           (2/23/2021)
                                   anti-cancer agents.                             PCT                PCT/US22/17575                 Published / closed
                                                                                                      (2/23/2022)
                                                                                   China              2022800303312                  Pending
                                                                                                      (2/23/2022)                    (Request Substantive
                                                                                                                                     Examination Feb 23 2024)
                                                                                   Europe             22760356.0                     Pending
                                                                                                      (2/23/2022)                    (Voluntary claim amendments
                                                                                                                                     Apr 4 2024)
                                                                                                                                     (HK extension via EP Jul 3 2024)
                                                                                   Japan              2023-551099                    Pending
                                                                                                      (2/23/2022)                    (Request Examination Feb 23
                                                                                                                                     2025)
                                                                                   U.S.               18/278,235                     Pending
                                                                                                      (8/22/2023)
13               bacC3DNA          GENE THERAPY VECTORS AND METHODS                U.S. provisional   63/509,458                     Pending
                 Family 2          OF PRODUCTION AND USE THEREOF                                      (6/21/2023)                    (PCT/US nonprov conversion
5014 (IGT-014)   provisional                                                                                                         June 21 2024)
                                   Developments for bacterially-produced
                                   C3DNA including minimal origin of replication
                                   and methods for production including using
                                   transposase.




     DB1/ 141288199.2                                                                        5
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                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $201,251.45

81. Deposits and prepayments. Copy line 9, Part 2.                                                               $149,233.91

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $350,485.36           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $350,485.36




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 7
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Fill in this information to identify the case:

Debtor name       Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:       DISTRICT OF MASSACHUSETTS

Case number (if known)      23-41067
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:         DISTRICT OF MASSACHUSETTS

Case number (if known)           23-41067
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          Blue Cross Blue Shield                              Check all that apply.
          101 Huntington Ave, Suite 1300                         Contingent
          Boston, MA 02199                                       Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Health benefit plan
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           Unknown
          CITY OF CAMBRIDGE                                   Check all that apply.
          TAX COLLECTOR'S OFFICE                                 Contingent
          795 MASSACHUSETTS AVE                                  Unliquidated
          CAMBRIDGE, MA 02139                                    Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 18
                                                                                                              26072
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            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                            $30.28   $30.28
         EyeMed                                             Check all that apply.
         4000 Lucottica Pl                                     Contingent
         Mason, OH 45040-8114                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee Benefit Plan
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Internal Revenue Service                           Check all that apply.
         Centralized Insolvency Operation                      Contingent
         P. O. Box 7346                                        Unliquidated
         Philadelphia, PA 19101-7346                           Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Massachusetts Department of                        Check all that apply.
         Revenue                                               Contingent
         Bankruptcy Unit                                       Unliquidated
         P.O. Box 9564                                         Disputed
         100 Cambridge Street, 7th Floor
         Boston, MA 02114-9564
         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown     Unknown
         Massachusetts Department of                        Check all that apply.
         Workforce De                                          Contingent
         Division of Unemployment                              Unliquidated
         Assistance                                            Disputed
         One Ashburton Place, Suite # 2112
         Boston, MA 02108
         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 18
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Debtor      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                                        Case number (if known)   23-41067
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown        Unknown
         MBTA Pass Program                                  Check all that apply.
         PO Box 845831                                         Contingent
         Boston, MA 02284-5831                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Employee benefit plan
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (5)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown        Unknown
         New Jersey Department of Labor                     Check all that apply.
         and Workforce Development                             Contingent
         1 John Fitch PLaza                                    Unliquidated
         Trenton, NJ 08625                                     Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                                $0.00   $0.00
         Office of the Attorney General                     Check all that apply.
         Fair Labor Division                                   Contingent
         Commonwealth of Massachusetts                         Unliquidated
         One Ashburton Place, 18th Floor                       Disputed
         Boston, MA 02108
         Date or dates debt was incurred                    Basis for the claim:
                                                            For notice purposes only
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         Unknown        Unknown
         State of New Jersey                                Check all that apply.
         Division of Taxation                                  Contingent
         Bankruptcy Unit                                       Unliquidated
         3 John Fitch Way, 5th Floor PO                        Disputed
         Box 245
         Trenton, NJ 08695-0245
         Date or dates debt was incurred                    Basis for the claim:
                                                            Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 18
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              Name

2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       Unknown    Unknown
           SunLife                                              Check all that apply.
           PO Box 807009                                           Contingent
           Kansas City, MO 64184-7009                              Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
                                                                Insurance benefits
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (5)
                                                                   Yes


2.12       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                          $0.00   $0.00
           United States Attorney                               Check all that apply.
           District of Massachusetts                               Contingent
           1 Courthouse Way                                        Unliquidated
           Suite 9200                                              Disputed
           Boston, MA 02210
           Date or dates debt was incurred                      Basis for the claim:
                                                                For notice purposes only
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.                $1,600.00
          Aaron Nagiel                                                            Contingent
          1874 Benecia Ave                                                        Unliquidated
          Los Angeles, CA 90025                                                   Disputed
          Date(s) debt was incurred
                                                                              Basis for the claim: Consulting fees
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.               $31,950.00
          abcam                                                                   Contingent
          1 Kendall Square                                                        Unliquidated
          B2304                                                                   Disputed
          Cambridge, MA 02139
                                                                              Basis for the claim: Trade payable
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $424,760.00
          acCELLerate GmbH
          12-14 Osterfeldstrasse                                                  Contingent
          22529                                                                   Unliquidated
          Hamburg                                                                 Disputed
          GERMANY
                                                                              Basis for the claim: Trade payable
          Date(s) debt was incurred
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 4 of 18
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Debtor      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                               Case number (if known)            23-41067
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3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         ADP                                                          Contingent
         PO Box 842875                                                Unliquidated
         Boston, MA 02284-2875                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,040.00
         Air Systems Technologies, Inc.                               Contingent
         33 Wales Ave.                                                Unliquidated
         Suite A                                                      Disputed
         Avon, MA 02322
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $185.00
         Akron BioManufacturing LLC                                   Contingent
         600 Tallevast Road                                           Unliquidated
         Suite 201                                                    Disputed
         Sarasota, FL 34232
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,200.00
         Alliance for Regenerative Medicine                           Contingent
         1015 18th St NW                                              Unliquidated
         Suite 1102
                                                                      Disputed
         Washington, DC 20036
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,638.00
         Alta Biotech, LLC                                            Contingent
         12635 E. Montview Blvd.                                      Unliquidated
         Suite 217                                                    Disputed
         Aurora, CO 80045
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $13,425.00
         Amnet Systems, LLC                                           Contingent
         26 Fahey Street                                              Unliquidated
         Stamford, CT 06907
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $49,906.19
         Apple Tree Life Sciences (UK) Ltd.
         The Gridiron Building                                        Contingent
         Suite 6.05                                                   Unliquidated
         London, N1C 4AG                                              Disputed
         UNITED KINGDOM
                                                                   Basis for the claim: Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 5 of 18
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3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $116,365.00
         Apple Tree Life Sciences, Inc.                               Contingent
         230 Park Avenue                                              Unliquidated
         Suite 2800                                                   Disputed
         New York, NY 10169
                                                                   Basis for the claim: Board fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $169.50
         Atlantic Employee Screening                                  Contingent
         8895 N Miltiary Trail                                        Unliquidated
         #301C                                                        Disputed
         Palm Beach Gardens, FL 33410
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,312.20
         Azenta US, Inc. (formerly Genewiz, LLC)                      Contingent
         115 Corporate Boulevard                                      Unliquidated
         South Plainfield, NJ 07080                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $32,673.01
         Barrington James
         The Galleria 2nd Floor                                       Contingent
         Station Road                                                 Unliquidated
         Crawley West Sussex                                          Disputed
         UK
                                                                   Basis for the claim: Consulting Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,620.00
         BDO USA, LLP                                                 Contingent
         PO Box 642743                                                Unliquidated
         Pittsburgh, PA 15264-2743
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,967.01
         Bio-Rad Laboratories                                         Contingent
         1000 Alfred Nobel Dr                                         Unliquidated
         Hercules, CA 94547                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $25,386.67
         Bioprocure Inc.                                              Contingent
         660 Main St                                                  Unliquidated
         Woburn, MA 01801
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,387.39
         Bostonbean Coffee Co., Inc.                                  Contingent
         23 Draper Street                                             Unliquidated
         Woburn, MA 01801                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,712.00
         Casner & Edwards, LLP                                        Contingent
         303 Congress Street                                          Unliquidated
         Boston, MA 02210                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Professional fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $68,409.77
         Catalent Pharma Solutions - Kansas City                      Contingent
         26318 Network Place                                          Unliquidated
         Chicago, IL 60673-1318                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $2,483,410.00
         Charles River Laboratories                                   Contingent
         251 Ballardvale St                                           Unliquidated
         Wilmington, MA 01887
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,242.49
         Cintas                                                       Contingent
         PO Box 630803                                                Unliquidated
         Cincinnati, OH 45263                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,305.50
         Clark & Elbing, LLP                                          Contingent
         101 Federal Street                                           Unliquidated
         15th Floor                                                   Disputed
         Boston, MA 02110
                                                                   Basis for the claim: Professional fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $157,000.00
         Clearview Healthcare Partners, LLC                           Contingent
         One Newton Place                                             Unliquidated
         Suite 405                                                    Disputed
         Newton, MA 02458
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $273.95
         Copyright Clearance Center                                   Contingent
         29118 Network Place                                          Unliquidated
         Chicago, IL 60673-1291                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,810.00
         Creative Biogene Inc.                                        Contingent
         45-1 Ramsey Road                                             Unliquidated
         Shirley, NY 11967                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         CSC Leasing Company                                          Contingent
         6802 Paragon Place
                                                                      Unliquidated
         Suite 350
         Richmond, VA 23230                                           Disputed

         Date(s) debt was incurred                                 Basis for the claim: Master Equipment Lease

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $38,550.00
         Dana-Farber Cancer Institute, Inc                            Contingent
         PO Box 412846                                                Unliquidated
         Boston, MA 02241-2846                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Egnyte Inc.                                                  Contingent
         1350 West Middlefield Road                                   Unliquidated
         Mountain View, CA 94043
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Service Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Extra Space Storage                                          Contingent
         2050 Revere Beach Pkwy #2071
                                                                      Unliquidated
         Everett, MA 02149
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Month to month storage agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $75,091.25
         Faber Daeufer and Itrato PC                                  Contingent
         890 Winter Street                                            Unliquidated
         Waltham, MA 02451                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $56,250.00
         FCGG Inc. DBA Fairway Consulting Group                       Contingent
         2 Simonson Court                                             Unliquidated
         Glen Head, NY 11545                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $138.00
         FedEx Freight                                                Contingent
         PO Box 223125                                                Unliquidated
         Pittsburgh, PA 15251
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,921.40
         Fisher Scientific                                            Contingent
         P.O. Box 3648                                                Unliquidated
         Boston, MA 02241-3648                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $50.00
         Flores & Associates, LLC                                     Contingent
         PO Box 63238                                                 Unliquidated
         Charlotte, NC 28263-3238                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,155.00
         Flowjo, LLC                                                  Contingent
         385 Williamson Way                                           Unliquidated
         Ashland, OR 97520
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,985.85
         Fracht FWO Inc                                               Contingent
         373 Van Ness Avenue                                          Unliquidated
         Ste. 230                                                     Disputed
         San Francisco, CA 94102
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,422,458.00
         Galvanize Therapeutics, Inc                                  Contingent
         3200 Bridge Pkwy
                                                                      Unliquidated
         Redwood City, CA 94065
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Collaboration and License Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,005.50
         GDI Services Inc.                                            Contingent
         220 RESERVOIR STREET                                         Unliquidated
         SUITE 19
                                                                      Disputed
         Waltham, MA 02453
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,643.50
         Genscript USA Inc                                            Contingent
         860 Centennial Ave                                           Unliquidated
         Piscataway, NJ 08854                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,997.66
         Global Life Sciences Solutions USA LLC                       Contingent
         100 Results Way                                              Unliquidated
         Marlborough, MA 01752                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $13,468.50
         Goodwin Proctor LLP                                          Contingent
         Exchange Place                                               Unliquidated
         Attn: Rebecca A, Lee, Esq.                                   Disputed
         Boston, MA 02109
                                                                   Basis for the claim: Professional fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         GreatAmerica Financial Svcs.                                 Contingent
         PO Box 660831
                                                                      Unliquidated
         Dallas, TX 75266-0831
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Equipment lease
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                  $44.52
         GrubHub Holdings, Inc.                                       Contingent
         PO Box 71649                                                 Unliquidated
         Chicago, IL 60694-1649                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $273.00
         Health Advocate Solutions Inc.                               Contingent
         11808 Miracle Hills Drive                                    Unliquidated
         Omaha, NE 68154                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $24,450.00
         Ichor Life Sciences Inc.                                     Contingent
         2561 U.S. 11                                                 Unliquidated
         LaFayette, NY 13084                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $131,307.95
         IGEA SPA
         Via Parmenide 10 A                                           Contingent
         41012                                                        Unliquidated
         Capri                                                        Disputed
         ITALY
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,975.00
         Jae Won Kim                                                  Contingent
         285 Columbus Avenue                                          Unliquidated
         Apt 407                                                      Disputed
         Boston, MA 02116
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $75,600.00
         Jeffrey Lee Holyoke dba Continuous Quali                     Contingent
         57 County Street                                             Unliquidated
         Lakeville, MA 02347                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $107,257.55
         Jin H Huh                                                    Contingent
         630 S Elliott Rd Unit 102                                    Unliquidated
         Chapel Hill, NC 27517
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $69,375.96
         Jose Lora                                                    Contingent
         229 Beacon St., Apt. 2                                       Unliquidated
         Boston, MA 02116
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Separation Agreement and Release
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $307,989.23
         Kaneka Eurogentec S.A.
         LIEGE Science Park                                           Contingent
         Rue Bois Saint-Jean 5                                        Unliquidated
         4102 Ougr e                                                  Disputed
         BELGIQUE
                                                                   Basis for the claim: Contract Services
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,097.50
         Karen M. Carroll                                             Contingent
         295 Main Street                                              Unliquidated
         North Andover, MA 01845                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $500.00
         Kevin Trimmer dba Kevin Trimmer Photo                        Contingent
         PO Box 40476                                                 Unliquidated
         Providence, RI 02904                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,737.50
         Laurens Bouckaert dba BXL BioComm                            Contingent
         5781 Soledad Road                                            Unliquidated
         San Diego, CA 92037                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $493.45
         Life Technologies Corporation                                Contingent
         12088 Collections Center Drive                               Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Linksquares, Inc.                                            Contingent
         60 State St.                                                 Unliquidated
         Suite 1200
                                                                      Disputed
         Boston, MA 02109
                                                                   Basis for the claim: Service Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,625.00
         Maeve Consulting LLC                                         Contingent
         6710 Barberry Place                                          Unliquidated
         Carlsbad, CA 92011                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $6,130.00
         Massachusetts Biotechnology Council                          Contingent
         700 Technology Square                                        Unliquidated
         5th Floor
                                                                      Disputed
         Cambridge, MA 02139
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,241.24
         MCRA, LLC                                                    Contingent
         505 Park Ave                                                 Unliquidated
         14th Floor                                                   Disputed
         New York, NY 10022
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $9,121.80
         Mettler-Toledo Rainin, LLC                                   Contingent
         P.O. Box 13505                                               Unliquidated
         Newark, NJ 07188-0505                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $3,784.00
         Miltenyi Biotec, Inc.                                        Contingent
         Dept# 33955                                                  Unliquidated
         P.O. Box 39000                                               Disputed
         San Francisco, CA 94139
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $129,527.50
         Mispro Biotech Services Corporation                          Contingent
         450 East 29th Street                                         Unliquidated
         Suite 602
                                                                      Disputed
         New York, NY 10016
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,000.00
         Peter K Kaise                                                Contingent
         2763 Belgrave Road                                           Unliquidated
         Pepper Pike, OH 44124                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,901.25
         Pharmalex France
         Tour CB 21                                                   Contingent
         6 place de l Iris                                            Unliquidated
         92400 Courbevoie                                             Disputed
         FRANCE
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $28,046.58
         Powered Research, LLC                                        Contingent
         PO Box 14650                                                 Unliquidated
         Research Triangle Park, NC 27709                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,465.00
         Prendio LLC                                                  Contingent
         660 Main St.                                                 Unliquidated
         First Floor
                                                                      Disputed
         Woburn, MA 01801
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,892,339.39
         Prime Property Fund,LLC                                      Contingent
         dba PPF OFF 150 Cambridge
                                                                      Unliquidated
         Park Drive LLC
         P.O. Box 21434                                               Disputed
         New York, NY 10087                                        Basis for the claim: Leased offices and lab space located at 150
         Date(s) debt was incurred                                 Cambridgepark Drive, 8th Floor Cambridge, MA 02140
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,600.10
         Quinn Emanuel Urquhart & Sullivan, LLP                       Contingent
         865 South Figueroa Street                                    Unliquidated
         10th Floor                                                   Disputed
         Los Angeles, CA 90017
                                                                   Basis for the claim: Professional fees
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,250.00
         Relx Inc DBA LexisNexis                                      Contingent
         9443 Springboro Pike                                         Unliquidated
         Miamisburg, OH 45342
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $5,000,000.00
         Resilience Boston, Inc                                       Contingent
         P.O. Box 736130                                              Unliquidated
         Dallas, TX 75373                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Contract Manufacturing Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $1,092,086.86
         Richter-Helm BioLogics GmbH & Co. KG
         Suhrenkamp 59                                                Contingent
         Hamburg                                                      Unliquidated
         22335                                                        Disputed
         GERMANY
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $63,875.00
         Robert Farra                                                 Contingent
         19 Indian Ridge Rd                                           Unliquidated
         Falmouth, MA 02540
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Separation Agreement and Release
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Robert Spielvogal and Associates, Inc.                       Contingent
         36 Oakland Road                                              Unliquidated
         Brookline, MA 02245
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $809.00
         Sartorius Stedim North America Inc.                          Contingent
         24917 Network Place                                          Unliquidated
         Chicago, IL 60673-1249                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $48,000.00
         Sharon Tan dba Tangram Development
         Solut                                                        Contingent
         519 Harrison Ave                                             Unliquidated
         Unit D612                                                    Disputed
         Boston, MA 02118
                                                                   Basis for the claim: Consulting Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $973.63
         Shon's Scientific Refrigeration Service                      Contingent
         202 Milton Street                                            Unliquidated
         Suite 101                                                    Disputed
         Dedham, MA 02026
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $85,860.25
         Stern IR, Inc.                                               Contingent
         1270 Avenue of the Americas                                  Unliquidated
         Suite 408                                                    Disputed
         New York, NY 10020
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               Unknown
         Teknova                                                      Contingent
         2451 Bert Drive
                                                                      Unliquidated
         Hollister, CA 95023
                                                                      Disputed
         Date(s) debt was incurred
         Last 4 digits of account number                           Basis for the claim: Trade payable

                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $83,181.22
         The Catalytic Agency LLC                                     Contingent
         PO BOX #425009                                               Unliquidated
         Cambridge, MA 02142                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Consulting Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 15 of 18
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Debtor      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                               Case number (if known)            23-41067
            Name

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $11,615.00
         The Herring Impact Group, LLC
         dba IMPACT Group LLC                                         Contingent
         12977 North Outer 40 Drive                                   Unliquidated
         Suite 300                                                    Disputed
         St Louis, MO 63141
                                                                   Basis for the claim: Consulting Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,546.25
         The Ogilvy Group, LLC                                        Contingent
         Loxkbox 1820                                                 Unliquidated
         PO Box 781820                                                Disputed
         Philadelphia, PA 19178
                                                                   Basis for the claim: Consulting Agreement
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.83     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $354,166.67
         Theresa Heah                                                 Contingent
         1125 Maxwell Lane, TH3                                       Unliquidated
         Hoboken, NJ 07030
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Separation Agreement and Release
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.84     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $100.16
         Thomas Scientific Holdings, LLC
         dba Thomas Scientific LLC                                    Contingent
         Attention: Marsha E. Ma y                                    Unliquidated
         1654 High Hill Rd                                            Disputed
         Swedesboro, NJ 08085
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.85     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $244.67
         Town Business Systems                                        Contingent
         170 Kerry Place                                              Unliquidated
         Norwood, MA 02062
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.86     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $535.50
         Triumvirate Environmental, Inc.                              Contingent
         Dept. 106091                                                 Unliquidated
         P.O. Box 150502
                                                                      Disputed
         Hartford, CT 06115-0502
                                                                   Basis for the claim: Trade payable
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.87     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,766.25
         Tsung-Hua Lin                                                Contingent
         118 Homecoming                                               Unliquidated
         Irvine, CA 92602                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Trade payable
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 16 of 18
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Debtor       Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                                      Case number (if known)            23-41067
             Name

3.88      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $80.84
          UPS                                                                  Contingent
          55 Glenlake Parkway, NE                                              Unliquidated
          Atlanta, GA 30328                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade payable
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.89      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $81,604.25
          Vincent Hennemand                                                    Contingent
          17 Douglas Rd                                                        Unliquidated
          Belmont, MA 02478
                                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Separation Agreement and Release
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.90      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $32,825.96
          Wilson Sonsini Goodrich & Rosati PC                                  Contingent
          650 Page Mill Road                                                   Unliquidated
          Palo Alto, CA 94304-1050                                             Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Professional fees
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.91      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $2,301.49
          World Courier, Inc.                                                  Contingent
          P.O. Box 842325                                                      Unliquidated
          Boston, MA 02284                                                     Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Trade payable
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.92      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $31,426.75
          ZAGENO Inc                                                           Contingent
          625 Massachusetts Avenue                                             Unliquidated
          Floor 2
                                                                               Disputed
          Boston, MA 02139
                                                                           Basis for the claim: Trade payable
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes

3.93      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $14,250.00
          Zarparam Consulting Inc                                              Contingent
          11 Chapman Street                                                    Unliquidated
          Watertown, MA 02472                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Consulting Agreement
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.94      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $8,890.56
          ZenQMS LLC                                                           Contingent
          40 Coulter Ave                                                       Unliquidated
          Suite 265
                                                                               Disputed
          Ardmore, PA 19003
                                                                           Basis for the claim: Trade payable
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 18
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            Name


  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                related creditor (if any) listed?              account number, if
                                                                                                                                               any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                 Total of claim amounts
5a. Total claims from Part 1                                                                       5a.       $                        30.28
5b. Total claims from Part 2                                                                       5b.   +   $                14,830,737.17

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.       $                   14,830,767.45




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 18 of 18
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Fill in this information to identify the case:

Debtor name       Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:     DISTRICT OF MASSACHUSETTS

Case number (if known)     23-41067
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Service agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Amazon Web Services
           List the contract number of any                                          410 Terry Ave N
                 government contract                                                Seattle, WA 98109


2.2.       State what the contract or            Bailment Agreement
           lease is for and the nature of        dated Sept. 19, 2023
           the debtor's interest

               State the term remaining
                                                                                    Ascidian Therapeutics, Inc.
           List the contract number of any                                          60 Guest Street
                 government contract                                                Brighton, MA 02135


2.3.       State what the contract or            Employer Group
           lease is for and the nature of        Benefits Agreement
           the debtor's interest

               State the term remaining
                                                                                    Blue Cross Blue Shield
           List the contract number of any                                          101 Huntington Ave, Suite 1300
                 government contract                                                Boston, MA 02199


2.4.       State what the contract or            Consulting Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining                                             Browne Consulting Group
                                                                                    One Broadway
           List the contract number of any                                          14th Floor
                 government contract                                                Cambridge, MA 02142




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 6
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Debtor 1 Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                       Case number (if known)   23-41067
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or        Service agreement
          lease is for and the nature of
          the debtor's interest
                                                                        Cloud Ally Ltd.
             State the term remaining                                   13 Zarhin Street
                                                                        7th Floor Hi-Tech Park
          List the contract number of any                               PO Box 3071 Ra'anana 4366241
                government contract                                     ISRAEL


2.6.      State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       5/11/23-5/10/24
                                                                        Cloud Topco, LP dba Red River Technology
          List the contract number of any                               PO Box 780924
                government contract                                     Philadelphia, PA 19178-0924


2.7.      State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       2/16/23 - 2/29/24
                                                                        COMSOL, Inc.
          List the contract number of any                               100 District Avenue
                government contract                                     Burlington, MA 01803


2.8.      State what the contract or        Master Equipment
          lease is for and the nature of    Lease dated 8/16/21
          the debtor's interest

             State the term remaining                                   CSC Leasing Company
                                                                        6802 Paragon Place
          List the contract number of any                               Suite 350
                government contract                                     Richmond, VA 23230


2.9.      State what the contract or        Service Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Egnyte Inc.
          List the contract number of any                               1350 West Middlefield Road
                government contract                                     Mountain View, CA 94043




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.10.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       5/16/23-5/15/24
                                                                        Egnyte Inc.
          List the contract number of any                               1350 West Middlefield Road
                government contract                                     Mountain View, CA 94043


2.11.     State what the contract or        Board fees
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Emerald Capital Advisors
                                                                        150 East 52nd Street
          List the contract number of any                               15th Floor
                government contract                                     New York, NY 10022


2.12.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest
                                                                        eShares, Inc. DBA Carta, Inc.
             State the term remaining       6/18/23-6/18/24             333 Bush St.
                                                                        Floor 23
          List the contract number of any                               Suite 2300
                government contract                                     San Francisco, CA 94104


2.13.     State what the contract or        Month to month
          lease is for and the nature of    storage agreement
          the debtor's interest

             State the term remaining
                                                                        Extra Space Storage
          List the contract number of any                               2050 Revere Beach Pkwy #2071
                government contract                                     Everett, MA 02149


2.14.     State what the contract or        Employer Group
          lease is for and the nature of    Benefits Agreement
          the debtor's interest

             State the term remaining
                                                                        EyeMed
          List the contract number of any                               4000 Lucottica Pl
                government contract                                     Mason, OH 45040-8114




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.15.     State what the contract or        Consulting Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                        Flores & Associates, LLC
          List the contract number of any                               PO Box 63238
                government contract                                     Charlotte, NC 28263-3238


2.16.     State what the contract or        Collaboration and
          lease is for and the nature of    License Agreement
          the debtor's interest             dated 9/23/21

             State the term remaining
                                                                        Galvanize Therapeutics, Inc.
          List the contract number of any                               1531 Industrial Road
                government contract                                     San Carlos, CA 94070


2.17.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       6/30/23-6/29/24
                                                                        Global Life Sciences Solutions USA LLC
          List the contract number of any                               100 Results Way
                government contract                                     Marlborough, MA 01752


2.18.     State what the contract or        Equipment Lease
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining
                                                                        Great American Financial Services
          List the contract number of any                               PO Box 660831
                government contract                                     Dallas, TX 75266-0831


2.19.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       4/12/23-4/11/24
                                                                        Greenhouse Software, Inc.
          List the contract number of any                               P.O. Box 392683
                government contract                                     Pittsburgh, PA 15251-9683




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                  Page 4 of 6
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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.20.     State what the contract or        Consulting Agreement
          lease is for and the nature of    dated 4/1/22
          the debtor's interest

             State the term remaining
                                                                        Jin H Huh
          List the contract number of any                               630 S Elliott Rd Unit 102
                government contract                                     Chapel Hill, NC 27517


2.21.     State what the contract or        Separation Agreement
          lease is for and the nature of    and Release dated
          the debtor's interest             8/1/23

             State the term remaining
                                                                        Jose Lora
          List the contract number of any                               229 Beacon St., Apt. 2
                government contract                                     Boston, MA 02116


2.22.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       5/1/23-4/30/24
                                                                        Linkedin Corporation
          List the contract number of any                               62228 Collections Center Drive
                government contract                                     Chicago, IL 60693-0622


2.23.     State what the contract or        Software license
          lease is for and the nature of
          the debtor's interest

             State the term remaining       5/24/23-5/23/24
                                                                        LinkSquares Inc.
          List the contract number of any                               POB 97595
                government contract                                     Las Vegas, NV 89193-7595


2.24.     State what the contract or        Service Agreement
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                   Linksquares, Inc.
                                                                        60 State St.
          List the contract number of any                               Suite 1200
                government contract                                     Boston, MA 02109




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          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.25.     State what the contract or        Commercial General
          lease is for and the nature of    Liability, Automobile
          the debtor's interest             Liability, Umbrella
                                            Excess Liability, and
                                            Workers Compensation
                                            and Employer's
                                            Liability policies
             State the term remaining       expiring May 1, 2024
                                                                        Newfront Insurance Services
          List the contract number of any                               777 Mariners Island Blvd, Suite 250
                government contract                                     San Mateo, CA 94404


2.26.     State what the contract or        Separation Agreement
          lease is for and the nature of    and Release dated
          the debtor's interest             8/1/23

             State the term remaining
                                                                        Robert Farra
          List the contract number of any                               19 Indian Ridge Rd
                government contract                                     Falmouth, MA 02540


2.27.     State what the contract or        Employer Group
          lease is for and the nature of    Benefits Agreement
          the debtor's interest

             State the term remaining
                                                                        SunLife
          List the contract number of any                               PO Box 807009
                government contract                                     Kansas City, MO 64184-7009


2.28.     State what the contract or        Separation Agreement
          lease is for and the nature of    and Release dated
          the debtor's interest             8/11/23

             State the term remaining
                                                                        Theresa Heah
          List the contract number of any                               1125 Maxwell Lane, TH3
                government contract                                     Hoboken, NJ 07030


2.29.     State what the contract or        Separation Letter
          lease is for and the nature of    Agreement dated
          the debtor's interest             5/12/23

             State the term remaining
                                                                        Vincent Hennemand
          List the contract number of any                               17 Douglas Rd
                government contract                                     Belmont, MA 02478




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Fill in this information to identify the case:

Debtor name      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS

Case number (if known)   23-41067
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC

United States Bankruptcy Court for the:    DISTRICT OF MASSACHUSETTS

Case number (if known)     23-41067
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Sublease Income                                       $865,767.48


      From the beginning of the fiscal year to filing date:
      From 1/01/2023 to Filing Date                                                   Interest Income                                         $68,389.73


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Sublease Income                                     $2,045,875.72


      For prior year:
      From 1/01/2022 to 12/31/2022                                                    Interest Income                                         $31,655.85


      For year before that:
      From 1/01/2021 to 12/31/2021                                                    Sublease Income                                     $1,505,290.00


      For year before that:
      From 1/01/2021 to 12/31/2021                                                    Interest Income                                          $5,852.20


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)
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         None.

      Creditor's Name and Address                              Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                   Check all that apply
      3.1.
              ABD Insurance & Financial Services,              09/27/2023                       $30,314.00           Secured debt
              Inc                                                                                                    Unsecured loan repayments
              777 Mariners Island Blvd                                                                               Suppliers or vendors
              Suite 250
                                                                                                                     Services
              San Mateo, CA 94404
                                                                                                                     Other


      3.2.
              Blue Cross Blue Shield                           09/29/2023                       $17,767.25           Secured debt
              101 Huntington Ave, Suite 1300                                                                         Unsecured loan repayments
              Boston, MA 02199                                                                                       Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.3.
              Cambridge Trust                                  10/27/2023                       $25,706.26           Secured debt
              1336 Massachusetts Ave                                                                                 Unsecured loan repayments
              Cambridge, MA 02138                                                                                    Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.4.
              CFGI, LLC.                                       09/21/2023                       $15,245.56           Secured debt
              1 Lincoln Street                                 10/11/2023                                            Unsecured loan repayments
              STE 1301                                                                                               Suppliers or vendors
              Boston, MA 02111
                                                                                                                     Services
                                                                                                                     Other


      3.5.
              Prime Property Fund,LLC                          11/29/2023                    $1,285,313.00           Secured debt
              dba PPF OFF 150 Cambridge                                                                              Unsecured loan repayments
              Park Drive LLC                                                                                         Suppliers or vendors
              P.O. Box 21434                                                                                         Services
              New York, NY 10087
                                                                                                                     Other Draw on cash account
                                                                                                                   securing letter of credit

      3.6.
              Egnyte Inc.                                      10/04/2023                         $7,659.41          Secured debt
              1350 West Middlefield Road                                                                             Unsecured loan repayments
              Mountain View, CA 94043                                                                                Suppliers or vendors
                                                                                                                     Services
                                                                                                                     Other


      3.7.
              GDI Services Inc.                                09/28/2023                         $8,232.00          Secured debt
              220 RESERVOIR STREET                             10/17/2023                                            Unsecured loan repayments
              SUITE 19                                                                                               Suppliers or vendors
              Waltham, MA 02453
                                                                                                                     Services
                                                                                                                     Other




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      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.8.
              Morgan, Lewis & Bockius LLP                          09/21/2023                       $88,288.95           Secured debt
              1707 Market Street                                   11/01/2023                                            Unsecured loan repayments
              Philadelphia, PA 19103                               12/04/2023                                            Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.9.
              Nicholas Messinese                                   09/21/2023                         $7,700.00          Secured debt
              33 Old Bolton Road                                   09/28/2023                                            Unsecured loan repayments
              Stow, MA 01775                                       10/11/2023                                            Suppliers or vendors
                                                                   10/17/2023
                                                                                                                         Services
                                                                   11/01/2023
                                                                                                                         Other


      3.10
      .
           Quinn Emanuel Urquhart & Sullivan,                      09/28/2023                       $18,744.30           Secured debt
              LLP                                                  10/17/2023                                            Unsecured loan repayments
              865 South Figueroa Street                                                                                  Suppliers or vendors
              10th Floor
                                                                                                                         Services
              Los Angeles, CA 90017
                                                                                                                         Other


      3.11
      .
           Robert Spielvogal and Associates, Inc.                  10/06/2023                         $7,646.25          Secured debt
              36 Oakland Road                                      10/17/2023                                            Unsecured loan repayments
              Brookline, MA 02245                                                                                        Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.12
      .
           Wilson Sonsini Goodrich & Rosati PC                     10/02/2023                      $130,102.50           Secured debt
              650 Page Mill Road                                                                                         Unsecured loan repayments
              Palo Alto, CA 94304-1050                                                                                   Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Apple Tree Life Sciences, Inc.                       01/04/2023                      $254,474.75         Board fees
              230 Park Avenue                                      03/01/2023
              Suite 2800                                           03/28/2023
              New York, NY 10169                                   04/06/2023
              Affiliate                                            05/11/2023

      4.2.    Emerald Capital Advisors                             08/23/2023                       $50,000.00         Board fees
              150 East 52nd Street                                 09/26/2023
              15th Floor                                           10/30/2023
              New York, NY 10022                                   11/30/2023
              Affiliate

5. Repossessions, foreclosures, and returns
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    List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
    a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property

      PPF OFF 150 Cambridge Park                       Leased offices and lab space located at 150                     October 2,                   Unknown
      Drive, LLC                                       Cambridgepark Drive, 8th Floor Cambridge,                       2023
      c/o Morgan Stanley Real Estate                   MA 02140 - lease terminated.
      Advisors,
      1585 Broadway, 37th Floor
      Attn: Tricia Moore
      New York, NY 10036


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken
      Prime Property Fund,LLC                          Draw on cash account securing letter of                         11/29/23                 $1,285,313.00
      dba PPF OFF 150 Cambridge                        credit
      Park Drive LLC                                   Last 4 digits of account number: 7492
      P.O. Box 21434
      New York, NY 10087


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Kaneka Eurogentec SA v.                  Breach of                   Middlesex Superior Court                       Pending
              Intergalactic Therapeutics               Contract                    200 Tradecenter Dr.                            On appeal
              2381 cv 3200                                                         Woburn, MA 01801
                                                                                                                                  Concluded

      7.2.    Ppf Off. 150 Cambridge Park              Summary Process             Cambridge District Court                       Pending
              Drive LLC v. Intergalactic                                           4040 Mystic Valley Pkwy                        On appeal
              Therapeutics                                                         Medford, MA 02155
                                                                                                                                  Concluded
              2352SU000149

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

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               Recipient's name and address           Description of the gifts or contributions                 Dates given                         Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                  Dates of loss           Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).
      Water damage in office and lab                  $62,036.20                                                12/24/22                       Unknown
      spaces due valve failure on kitchen
      refrigerator.


Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates              Total amount or
                the transfer?                                                                                                                     value
                Address
      11.1.     Murphy & King, P.C.
                One Beacon Street
                21st Floor
                Boston, MA 02108                                                                                      08/22/2023              $10,000.00

                Email or website address
                murphyking.com

                Who made the payment, if not debtor?




      11.2.     Murphy & King, P.C.
                28 State Street
                Suite 3101
                Boston, MA 02109                                                                                      09/21/2023              $66,109.80

                Email or website address
                murphyking.com

                Who made the payment, if not debtor?




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                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.3.     Murphy & King, P.C.
                28 State Street
                Suite 3101
                Boston, MA 02109                                                                                       11/14/2023                $20,000.00

                Email or website address
                murphyking.com

                Who made the payment, if not debtor?




      11.4.     Murphy & King, P.C.
                28 State Street
                Suite 3101
                Boston, MA 02109                                                                                       12/13/2023                $50,000.00

                Email or website address
                murphyking.com

                Who made the payment, if not debtor?




      11.5.     Murphy & King, P.C.
                28 State Street
                Suite 3101
                Boston, MA 02109                                                                                       12/18/2023                 $6,741.00

                Email or website address
                murphyking.com

                Who made the payment, if not debtor?




      11.6.     Verdolino & Lowey PC
                Pine Brook Office Park
                124 Washington St.
                Foxboro, MA 02035                                                                                      09/26/2023                $35,000.00

                Email or website address
                vlpc.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

         None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
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          None.

               Who received transfer?                  Description of property transferred or                     Date transfer            Total amount or
               Address                                 payments received or debts paid in exchange                was made                          value
      13.1 Surplus Solutions, LLC
      .    2010 Diamond Hill Rd.
               Providence, RI 02906                    Sale of Lab Equipment                                      9/20/23                     $322,500.00

               Relationship to debtor



      13.2 Marlinspike Therapeutics, Inc.
      .    150 Cambridgepark Drive, 8th
               Floor                                   Sale of IT and Video Conferencing
               Cambridge, MA 02140                     Equipment                                                  10/6/23                      $13,000.00

               Relationship to debtor
               Affiliate under common
               ownership


 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     150 Cambridgepark Drive                                                                             May 22 – Nov 23
                8th Floor
                Cambridge, MA 02140

      14.2.     40 Guest Street                                                                                     Mar 20 – Jun 22
                Suite 4410
                Brighton, MA 02135

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.




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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                    No Go to Part 10.
                    Yes. Fill in below:

Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Extra Space Storage                                    Charles Allen                         office related, leased ff&e, lab               No
      2050 Revere Beach Pkwy #2071                           c/o Intergalactic                     consumables                                    Yes
      Everett, MA 02149                                      Therapeutics, Inc.
                                                             330 Cochituate Road
                                                             #5088
                                                             Framingham, MA 01701

      Ascidian Therapeutics                                  Charles Allen                         Research materials including                   No
      c/o SciSafe                                            c/o Intergalactic                     the Research Cell Bank for                     Yes
      35 Dunham Rd                                           Therapeutics, Inc.                    ABCA4 C3DNA, Purified
      Billerica, MA 01821                                    330 Cochituate Road                   C3DNA, preC3 Plasmid,
                                                             #5088                                 glycerol stocks of PreC3
                                                             Framingham, MA 01701                  Constructs, and glycerol
                                                                                                   stocks of converted C3DNA
                                                                                                   from PreC3, as well as NHP
                                                                                                   retina samples obtained from
                                                                                                   Intergalactic's 3239-071 study



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own


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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To



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      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26a.1.        Charles Allen                                                                                                 Current
                    c/o Intergalactic Therapeutics, Inc.
                    330 Cochituate Road #5088
                    Framingham, MA 01701
      26a.2.        Warren Browne                                                                                                 Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26a.3.        Tom Parrotta                                                                                                  Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26a.4.        Eric Rubega                                                                                                   Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26a.5.        Jordan Bloom                                                                                                  Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26a.6.        Jyoti Gurbani                                                                                                 Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26a.7.        Sarah Williams                                                                                                Current
                    Browne Consulting
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.1.        PricewaterhouseCoopers, LLP                                                                                   Audit - FY 2020,
                    125 High Street                                                                                               Review - FY 2021
                    Boston, MA 02110
      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26b.2.        CFGI, LLC.                                                                                                    Prepared 2021
                    1 Lincoln Street                                                                                              Financial
                    STE 1301                                                                                                      Statements
                    Boston, MA 02111

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

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      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Charles Allen
                    c/o Intergalactic Therapeutics, Inc.
                    330 Cochituate Road #5088
                    Framingham, MA 01701
      26c.2.        Browne Consulting Group
                    One Broadway
                    14th Floor
                    Cambridge, MA 02142
      26c.3.        Verdolino & Lowey PC
                    Pine Brook Office Park
                    124 Washington St.
                    Foxboro, MA 02035

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Apple Tree Life Sciences, Inc.
                    230 Park Avenue
                    Suite 2800
                    New York, NY 10169
      26d.2.        Prime Property Fund, LLC
                    dba PPF OFF 150 Cambridge
                    Park Drive LLC
                    P.O. Box 21434
                    New York, NY 10087

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      John Madden                             c/o Emerald Capital Advisors                        Director
                                              150 East 52nd Ste, 15th Floor
                                              New York, NY 10022
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Joseph Yanchik                          c/o Apple Tree Partners                             Director
                                              245 Main Street, Floor 12
                                              Cambridge, MA 02142
      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Charles Allen                           c/o Intergalactic Therapeutics, Inc.                President
                                              330 Cochituate Road #5088
                                              Framingham, MA 01701



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Debtor      Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC                                  Case number (if known) 23-41067



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Seth Harrison                          c/o Apple Tree Partners                             Director                           Terminated
                                             230 Park Avenue, Suite 2800                                                            8/23/23
                                             New York, NY 10169
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Theresa Heah                           1125 Maxwell Lane, TH3                              CEO                                1/2/23 - 7/31/23
                                             Hoboken, NJ 07030

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Jose Lora                              229 Beacon St., Apt. 2                              CSO                                Terminated
                                             Boston, MA 02116                                                                       7/31/23

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Robert Farra                           19 Indian Ridge Rd                                  CTO                                Terminated
                                             Falmouth, MA 02540                                                                     7/31/23

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Kinberly McGonagle                     4 Chestnut Rd                                       Head of Human                      Terminated
                                             Norfolk, MA 02056                                   Resources                          7/31/23

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Eileen Higham                          77 Exeter St., Unit 1409                            SVP, Head of Tech Ops              Terminated
                                             Boston, MA 02116                                                                       2/28/23

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Vincent Hennemand                      17 Douglas Rd                                       COO                                Terminated
                                             Belmont, MA 02478                                                                      5/15/23

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Michael Ehlers                         c/o Apple Tree Partners                             CEO/Board Chair                    Resigned as CEO
                                             245 Main Street, Floor 12                                                              1/2/23 and
                                             Cambridge, MA 02140                                                                    terminated 8/23/23
      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Anna Batarina                          c/o Apple Tree Partners                             Director                           Terminated
                                             230 Park Avenue, Suite 2800                                                            8/23/23
                                             New York, NY 10169

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
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    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient          Amount of money or description and value of                Dates             Reason for
                                                    property                                                                     providing the value
      30.1 John Madden
      .    c/o Emerald Capital Advisors
             150 East 52nd Ste, 15th Floor                                                                     Dec 22 - Dec      Services
             New York, NY 10022                     $50,000 Directors Fee                                      23                Performed

             Relationship to debtor
             Director


      30.2 Charles Allen
      .    c/o Intergalactic
             Therapeutics, Inc.
             330 Cochituate Road #5088                                                                         Dec 22 - Dec
             Framingham, MA 01701                   $566,670.00                                                23                Wages

             Relationship to debtor
             President


      30.3 Vincent Hennemand
      .    17 Douglas Rd                                                                                       Dec 22 - Apr
             Belmont, MA 02478                      $296,466.85                                                23                Wages

             Relationship to debtor
             COO


      30.4 Vincent Hennemand
      .    17 Douglas Rd                                                                                       May 23 – Nov
             Belmont, MA 02478                      $212,171.05                                                23                Severance

             Relationship to debtor
             COO


      30.5 Kinberly McGonagle
      .    4 Chestnut Rd                                                                                       Dec 22 - Jul
             Norfolk, MA 02056                      $202,810.32                                                23                Wages

             Relationship to debtor
             Head of Human Resources


      30.6 Kinberly McGonagle
      .    4 Chestnut Rd                                                                                       Aug 23 – Sep
             Norfolk, MA 02056                      $33,750.00                                                 23                Severance

             Relationship to debtor
             Head of Human Resourtces


      30.7 Theresa Heah
      .    1125 Maxwell Lane, TH3                                                                              Dec 22 - Jul
             Hoboken, NJ 07030                      $492,226.76                                                23                Wages

             Relationship to debtor
             CEO



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             Name and address of recipient       Amount of money or description and value of                Dates             Reason for
                                                 property                                                                     providing the value
      30.8 Theresa Heah
      .    1125 Maxwell Lane, TH3                                                                           Aug 23 – Nov
             Hoboken, NJ 07030                   $145,833.36                                                23                Severance

             Relationship to debtor
             CEO


      30.9 Eileen Higham
      .    77 Exeter St., Unit 1409                                                                         Dec 22 - Feb
             Boston, MA 02116                    $69,818.00                                                 23                Wages

             Relationship to debtor
             SVP, Head of Tech Ops


      30.1 Eileen Higham
      0.   77 Exeter St., Unit 1409                                                                         Mar 23 – Sep
             Boston, MA 02116                    $337,240.80                                                23                Severance

             Relationship to debtor
             SVP, Head of Tech Ops


      30.1 Robert Farra
      1.   19 Indian Ridge Rd                                                                               Dec 22 - Jul
             Falmouth, MA 02540                  $381,097.08                                                23                Wages

             Relationship to debtor
             CTO


      30.1 Robert Farra
      2.   19 Indian Ridge Rd                                                                               Aug 23 – Nov
             Falmouth, MA 02540                  $125,920.91                                                23                Severance

             Relationship to debtor
             CTO


      30.1 Jose Lora
      3.   229 Beacon St., Apt. 2                                                                           Dec 22 - Jul
             Boston, MA 02116                    $401,949.45                                                23                Wages

             Relationship to debtor
             CSO


      30.1 Jose Lora
      4.   229 Beacon St., Apt. 2                                                                           Aug 23 – Nov
             Boston, MA 02116                    $138,751.92                                                23                Severance

             Relationship to debtor
             CSO


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                 Employer Identification number of the parent
                                                                                                  corporation


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                                               LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                 Security Class Number of Securities                          Kind of Interest
business of holder
Amit Singh                                              Common               10000
3 Phillips Road                                         Shares
Tewksbury, MA 01876

Amy Guzman                                              Common               14779
95 Nevada ST                                            Shares
Newton, MA 02460

ATP Life Science Ventures, L.P.                         Series A             86944054
230 Park Avenue, Suite 2800                             Preferred
New York, NY 10169                                      Shares

ATP Life Science Ventures, L.P.                         Common               2561723
230 Park Avenue, Suite 2800                             Shares
New York, NY 10169

Bruce Schnepp                                           Common               3500
1723 Green Valley Rd                                    Shares
Havertown, PA 19083

Cameron Brothag                                         Common               400
16 Abby Rd, Apt 2                                       Shares
Boston, MA 02135

Carrie Wager                                            Common               5000
15 Lincoln Road                                         Shares
Brookline, MA 02445

Hsin-Chieh Ma                                           Common               860
150 E Wynnwood Rd, Apt 30A                              Shares
Wynnewood, PA 19096

James Faulkner                                          Common               65000
64 A Hyde Vale                                          Shares
Greenwich
London SE10 8HP
UNITED KINGDOM

Jasmine Shong                                           Common               612
804 Newkirk Street                                      Shares
Philadelphia, PA 19130

Jean Bennett                                            Common               54243
182 Fishers Road                                        Shares
Bryn Mawr, PA 19010



Sheet 1 of 3 in List of Equity Security Holders
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                                              LIST OF EQUITY SECURITY HOLDERS
                                                              (Continuation Sheet)

Name and last known address or place of                   Security Class Number of Securities        Kind of Interest
business of holder

Jodi Kennedy                                              Common         10000
192 Mount Vernon St                                       Shares
Dedham, MA 02026

Junwei Sun                                                Common         9572
607 Christian Street                                      Shares
Philadelphia, PA 19147

Keerthana Subramanian                                     Common         8983
360 Riverway Apt17                                        Shares
Boston, MA 02115

Krishna J. Fisher                                         Common         6381
81 E. LaCrosse Ave                                        Shares
Lansdowne, PA 19050

Phil Johnson                                              Common         8000
700 Williamson Rd                                         Shares
Bryn Mawr, PA 19010

Qin Yu                                                    Common         38502
3717 Chestnut Street                                      Shares
#105
Philadelphia, PA 19104

Rosario Fernandez-Godino                                  Common         2000
26 Dana St Apt 1                                          Shares
Somerville, MA 02145

Samiksha Shah                                             Common         4500
83 Winchester Street                                      Shares
Brookline, MA 02446

Sneha Patel                                               Common         2203
175H Centre St Apt818                                     Shares
Quincy, MA 02169

Steven Nichtberger                                        Common         26286
1415 Colton Road                                          Shares
Galdwyne, PA 19035

The Trustees of the University                            Common         147058
of Pennsylvania                                           Shares
3600 Civic Center Boulevard, 9th Floor
c/o Penn Center for Innovation
Philadephia, PA 19104



List of equity security holders consists of 3 total page(s)
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                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC in the above captioned action,
certifies that the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly
own(s) 10% or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under
FRBP 7007.1:
ATP Life Science Ventures, L.P.
230 Park Avenue, Suite 2800
New York, NY 10169




  None [Check if applicable]




December 22, 2023                                  /s/ Andrew G. Lizotte, Esq.
Date                                               Andrew G. Lizotte, Esq.
                                                   Signature of Attorney or Litigant
                                                   Counsel for Intergalactic Therapeutics, Inc., f/k/a IGTX, LLC
                                                   Murphy & King
                                                   28 State Street
                                                   Suite 3101
                                                   Boston, MA 02109
                                                   617-423-0400 Fax:617-423-0498
                                                   Alizotte@murphyking.com
